
"Wright, J.,
delivered the opinion of the Court.
We perceive no error in the judgment of the Circuit Court, in this case. The action is debt upon a judgment rendered in the Circuit Court of Clinton county, in the State of Kentucky, in favor of Cravens, as the administrator of William Gr. Sab-ban, deceased, against the plaintiff in error — upon a cause of action which accrued in the lifetime of the intestate. The suit in this State was properly brought in the debet and detinet by Cravens in his individual capacity. To enable him to do so, no letters of administration in this State were necessary; and being in his own right, the naming himself administrator is but descriptio persona, and does not alter his character. Biddle v. Wilkins, 1 Pet., 686; Hunt v. Lyle, 6 Yer., 412, 417; Braden v. Hollingsworth, 8 Hum., 19.
The judgment will be affirmed.
